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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

ORLANDO DIVISION
In re: Francois Dcnnaoui, Case No. 6115-bk-Ol496-KSJ
Debtor,
NOTlCE OF INCREASE IN PLAN PAYMENTS
This notice supersedes any previous notices filed
TO: Francois Dennaoui
12007 Walker Pond Road

Winter Garden, FL 34787

This notice is occasioned by a Notice of Mortgage Payment Change received by this
office from Ditech Financial (attached). Paragraph 8 of your Confirmation Order provides for
this change in plan payments from you to the Trustee, and no further order is required.

THE EFFECTIVE DATE OF THIS INCREASE IN PAYMENT IS WITH THE
PAYMENT DUE: Apri12017

w w
Mongagepa)nrnt 3613.90 5774.34
D`rfference 8160.44
AddiliomlesteeFee S|7.83

Your Payment to the Trustee 84,281.00 34,459.27 (4117-|{20)
34,276.00 $4,454.27(2/20)

If` you have made one or more payments which are after the effective date of this change, you
MUST, in order for your payments to be current and in good standing, forward the difference
between your former payment and the new payment to the Trustee upon receipt of this notice.

l hereby certify that a copy of the foregoing Notice of Increase in Plan Payments has been forwarded to
the debtor at the address listed above and to the debtors’ attomey, Charles W. Price, Esq., 390 Maitland
Ave., Ste. 1000, Altamonte Springs, FL 3270] on this the _3__ day of March, 2017.

/s/ Laurie K. Weatherford

Laurie K. Weatherford

Chapter 13 Trustee

Stuart Ferderer

Attomcy for 'l`rustce

Fl. Bar No. 0746967

Post Off`lce Box 3450

Winter Park, F|orida 32790-3450

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Fi|l in this information to identify the cases

 

 

 

Debtor 1 Francois Dennaoui
Debtor 2
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t United States Bankruptcy Court for lhe; Middle District of F|orida
z tsmie)
Case number 6:15-bk-01496~KSJ

 

 

Officia| Form 41081
Notice of Mortgage Payment Change 12/15

|f the debtor‘s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice ot any changes ln the installment payment amount. Fi|e this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Ru|e 3002.1.

Name of creditor: Ditech Financia| LLC lka Green Tree Court claim no. (if known): 8-1
Servicing LLC
Last four digits of any number you use to Date of payment change:
identify the debtor's account: 3675 Must be at least 21 days after date of w
this notice
New total payment:

Principal, lnterest, and escrow, if any $774.34

Escrow Account Payment Ad|ustment
1. W|ll there be a change |n the debtor's escrow account payment?
El No
Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. lf a statement is not attached, explain why:

 

Current escrow peyment: 5159.52 New escrow payment: $118.87

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m Mortgage Payment Ad]ustment i

2. Wll| the debtor‘s principal and interest payment change based on en adjustment to the interest rate on the debtor's variable-
rate account?
No
l Cl Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. lf a notice is not
attached, explain why:

 

Current interest rate: % New interest rate: %

Current principal and interest payment $ h New principal and interest payment: $

other Payment Change

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' 3. Wll| there be a change in the debtor's mortgage payment for a reason not listed above?

 

No
Cl Yes. Attach a copy of any documents describing the basis for the change. such as a repayment plan or loan modification
agreement. (Coun approval may be required before the payment change can take effect.)

Reason for change:

 

l Current mortgage payment: 5 New mortgage payment: $

 

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